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 Not for Publication

                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


     DANIEL D’AMBLY, et al.,
                  Plaintiffs,
                                                                   Civil Action No. 20-12880
           v.                                                        OPINION & ORDER

     CHRISTIAN EXOO a/k/a ANTIFASH
     GORDON, et al.,
                  Defendants.


 John Michael Vazquez, U.S.D.J.

          In this case, Plaintiffs, purported far right activists and their family members, take aim at

 Defendant Christian Exoo, a purported far left activist, and others for their alleged doxing

 campaigns because of Plaintiffs’ political views. The overarching issue is whether the doxing

 crossed a line into unlawful action. Presently before the Court are motions to dismiss from the

 following Defendants: (1) St. Lawrence University (“SLU”), D.E. 116; (2) Vijaya Gadde and

 Twitter, Inc. (“Twitter” and collectively, the “Twitter Defendants”), D.E. 117; and (3) Christian

 Exoo (collectively, the “Moving Defendants”), D.E. 119. Plaintiffs filed briefs in opposition, D.E.

 122, 123, 124, to which the Moving Defendants replied, D.E. 127, 128, 130.1 The Court reviewed

 the parties’ submissions and decided the motions without oral argument pursuant to Fed. R. Civ.


 1
   The Court refers to SLU’s brief in support of its motion (D.E. 116-2) as “SLU Br.”, the Twitter
 Defendants’ brief in support of their motion (D.E. 177-2) as “Twitter Br.”, and Exoo’s brief in
 support of his motion (D.E. 119-1) as “Exoo Br.”. The Court refers to Plaintiffs’ opposition to
 SLU’s motion (D.E. 124) as “SLU Opp.”, their opposition to the Twitter Defendants’ motion (D.E.
 123) as “Twitter Opp.”, and their opposition to Exoo’s motion (D.E. 122) as “Exoo Opp.”. In
 addition, docket entries 122 and 125 appear to be duplicates. Finally, the Court refers to SLU’s
 reply brief (D.E. 127) as “SLU Reply”, the Twitter Defendants’ reply brief (D.E. 128) as “Twitter
 Reply”, and Exoo’s reply brief (D.E. 130) as “Exoo Reply”.
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 P. 78(b) and L. Civ. R. 78.1(b). For the reasons set forth below, the Moving Defendants’ motions

 are GRANTED.

     I.      FACTUAL2 AND PROCEDURAL BACKGROUND

          For purposes of the instant motions, the Court does not retrace this case’s full factual and

 procedural history. This Court’s November 1, 2021 opinions granting Defendant Cohen, Weiss,

 and Simon, LLP’s (“CWS”) Rule 12(c) motion to dismiss3, D.E. 97, and the remaining

 Defendants’ Rules 12(b)(2) and 12(b)(6) motions to dismiss (the “Nov. 1 Opinion”), D.E. 99,

 include a detailed recounting of the factual background of this matter. To the extent relevant to

 the instant motions, the Court incorporates the factual and procedural history from these prior

 opinions.

          Plaintiff Daniel D’Ambly’s initial Complaint largely addressed Exoo’s alleged doxing

 campaign against D’Ambly.         D’Ambly alleged that Exoo identified D’Ambly as a white

 supremacist then instructed his associates to ascertain D’Ambly’s identity and dox him, meaning

 to publicly disclose D’Ambly’s personal, identifying information. Compl. ¶ 1. D’Ambly alleges

 that he was terminated from his job at the New York Daily News (“Daily News”) because of the

 doxing. Id. On March 25, 2021, Plaintiffs filed the First Amended Complaint (“FAC”), which

 included allegations about doxing campaigns waged against D’Ambly and additional Plaintiffs.




 2
   The factual background is taken from Plaintiffs’ Second Amended Complaint (“SAC”). D.E.
 103. When reviewing a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6),
 the Court accepts as true all well-pleaded facts in the complaint. Fowler v. UPMC Shadyside, 578
 F.3d 203, 210 (3d Cir. 2009). In reviewing a motion to dismiss under Federal Rule of Civil
 Procedure 12(b)(2), a court “must accept all of the plaintiff’s allegations as true and construe
 disputed facts in favor of the plaintiff.” Carteret Sav. Bank, FA v. Shushan, 954 F.2d 141, 142 n.1
 (3d Cir. 1992).
 3
  Plaintiff Daniel D’Ambly’s claim against CWS has been dismissed with prejudice and CWS is
 no longer a Defendant in this matter. D.E. 133, 134.
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          Certain Defendants filed motions to dismiss the FAC pursuant to Federal Rules of Civil

 Procedure 12(b)(2) and 12(b)(6). D.E. 74, 75, 78, 79. This Court granted Defendants’ motions

 and dismissed certain of Plaintiffs’ claims pursuant to Rules 12(b)(2) and 12(b)(6). D.E. 96-100,

 102. The Court provided Plaintiffs with leave to file an amended pleading. Id.

          Plaintiffs filed the SAC on November 20, 2021. D.E. 103. In the SAC, Plaintiffs include

 new factual allegations; assert claims against two additional Defendants, Nick Strickland and

 Torch Antifa Network (“Torch”); and include a new claim alleging a violation of Section 610 of

 the Labor-Management Relations Disclosure Act (“LMRDA”), 29 U.S.C. § 530. SAC ¶¶ 24-25,

 204-211. The Moving Defendants subsequently filed the instant motions, which seek to dismiss

 certain claims in the SAC pursuant to Rules 12(b)(2) and 12(b)(6). D.E. 116, 117, 119.

    II.      STANDARD OF REVIEW

          Rule 12(b)(2) permits a party to move to dismiss a case for lack of personal jurisdiction.

 In such a motion, the plaintiff bears the burden of demonstrating “sufficient facts to establish that

 jurisdiction is proper.” Mellon Bank PSFS Nat’l Ass’n v. Farino, 960 F.2d 1217, 1223 (3d Cir.

 1992). In reviewing such a motion, a court “must accept all of the plaintiff’s allegations as true

 and construe disputed facts in favor of the plaintiff.” Carteret Sav. Bank, FA v. Shushan, 954 F.2d

 141, 142 n.1 (3d Cir. 1992). But when a defendant raises a jurisdictional defense, “a plaintiff bears

 the burden of proving by affidavits or other competent evidence that jurisdiction is proper.”

 Dayhoff Inc. v. H.J. Heinz Co., 86 F.3d 1287, 1302 (3d Cir. 1996).

          Thus, to withstand a Rule 12(b)(2) motion, a plaintiff may not rely on the pleadings alone,

 as it “is inherently a matter which requires resolution of factual issues outside the pleadings.” Time

 Share Vacation Club v. Atl. Resorts, Ltd., 735 F.2d 61, 66 n.9 (3d Cir. 1984) (emphasis added). In

 conducting this jurisdictional analysis, district courts may rely upon the parties’ declarations for



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 relevant factual support. See, e.g., Pausch LLC v. Ti-Ba Enters., No. 13-6933, 2014 WL 5092649,

 at *3-4 (D.N.J. Oct. 8, 2014) (using declarations from both parties to conclude that contacts with

 the forum were insufficient for personal jurisdiction); Shnayderman v. Cell-U-More, Inc., No. 18-

 5103, 2018 WL 6069167, at *4 (D.N.J. Nov. 20, 2018) (using information from the plaintiff’s

 complaint and declaration to determine that the defendant did not travel to the forum state or solicit

 a loan from the plaintiff in the forum state).        Therefore, in determining whether personal

 jurisdiction exists, the Court looks beyond the pleadings to all relevant evidence and construes all

 disputed facts in favor of the plaintiff.

         Rule 12(b)(6) permits a court to dismiss a complaint that fails “to state a claim upon which

 relief can be granted[.]” Fed. R. Civ. P. 12(b)(6). For a complaint to survive dismissal under Rule

 12(b)(6), it must contain sufficient factual matter to state a claim that is plausible on its face.

 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,

 570 (2007)). A claim is facially plausible “when the plaintiff pleads factual content that allows

 the court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

 Id. Further, a plaintiff must “allege sufficient facts to raise a reasonable expectation that discovery

 will uncover proof of her claims.” Connelly v. Lane Const. Corp., 809 F.3d 780, 789 (3d Cir.

 2016). In evaluating the sufficiency of a complaint, district courts must separate the factual and

 legal elements. Fowler v. UPMC Shadyside, 578 F.3d 203, 210-211 (3d Cir. 2009). Restatements

 of the elements of a claim are legal conclusions, and therefore, are not entitled to a presumption of

 truth. Burtch v. Milberg Factors, Inc., 662 F.3d 212, 224 (3d Cir. 2011). The Court, however,

 “must accept all of the complaint’s well-pleaded facts as true.” Fowler, 578 F.3d at 210.




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    III.      ANALYSIS

                A. RICO Claims (Counts IV and V)

           In Counts IV and V, Plaintiffs assert federal RICO claims, for racketeering and a civil

 RICO conspiracy, respectively, under the federal RICO statute, 18 U.S.C. § 1961 et seq. SAC ¶¶

 170-95. To bring a federal civil RICO claim, a plaintiff must allege “(1) the conducting of, (2) an

 enterprise, (3) through a pattern, (4) of racketeering activity.” Gunter v. Ridgewood Energy Corp.,

 32 F. Supp. 2d 166, 173 (D.N.J. 1998). To establish a pattern of racketeering activity, a plaintiff

 must allege “at least two predicate acts of racketeering that occurred within ten years of each

 other.” Slimm v. Bank of Am. Corp., No. 12-5846, 2013 WL 1867035, at *20 (D.N.J. May 2,

 2013). Racketeering activity is defined in Section 1961(1)(B) as “any act which is indictable

 under” a number of enumerated federal laws; these federal offenses are called “predicate acts.”

 See 18 U.S.C. § 1341; 18 U.S.C. § 1962(1)(B).

           In the November 1 Opinion, the Court granted the Moving Defendants’ motions to dismiss

 with respect to Plaintiffs’ civil RICO claims because Plaintiffs failed to sufficiently allege any

 predicate acts. Specifically, the Court rejected Plaintiffs’ allegations that the alleged Exoo

 Enterprise violated the Hobbs Act, 18 U.S.C. § 1951, or the Travel Act, 18 U.S.C. § 1952. Nov.

 1 Opinion at 6-7. The Court explained that “[w]ithout sufficient predicate acts, Plaintiffs cannot

 plausibly allege that there was a pattern of racketeering activity.” Nov. 1 Opinion at 8. The

 Moving Defendants now argue, amongst other things, that the substantive RICO claim fails

 because Plaintiffs still do not allege any predicate acts in the SAC. See, e.g., SLU Br. at 9-10. The

 Court agrees.

           Plaintiffs continue to allege in the SAC that the purported Exoo Enterprise violated the

 Hobbs Act and the Travel Act. SAC ¶ 183. Moreover, Plaintiffs again rely on the same alleged



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 wrongful conduct – the doxing, threatening messages, job loss and property damage. See, e.g., id.

 ¶¶ 47-49, 52-53, 55-69. With respect to Plaintiffs’ alleged predicate acts, the SAC is unchanged

 from the FAC. As a result, for the same reasons discussed in the November 1 Opinion, Plaintiffs

 fail to allege any conduct that could constitute a Hobbs Act or the Travel Act violation in the SAC.

 Plaintiffs’ substantive RICO claim, therefore, fails for the same reasons discussed in the November

 1 Opinion.

        In their opposition brief, Plaintiffs allege that wire fraud, 18 U.S.C. § 1343, is the predicate

 offense for their substantive RICO claim. Exoo Opp. at 16-17, 18-19. But there are no allegations

 about wire fraud in the SAC. As previously discussed in the November 1 Opinion, Plaintiffs

 cannot amend their pleading through their brief. See Nov. 1 Opinion at 7 n.3 (quoting Pa. ex rel.

 Zimmerman v. PepsiCo, Inc., 836 F.2d 173, 181 (3d Cir. 1988)). Accordingly, the Court will not

 consider Plaintiffs’ argument that wire fraud forms the basis of the substantive RICO claim.

        Plaintiffs also argue that an alleged violation of Section 610 of the LMRDA, 29 U.S.C. §

 530 constitutes a predicate act. Exoo Opp. at 20-22. Plaintiffs plead a Section 610 violation of

 the LMRDA as a stand-alone claim in Count VII of the SAC. See SAC ¶¶ 204-211. Plaintiffs do

 not explicitly plead that it constitutes a predicate act in either of their RICO claims. Plaintiffs,

 however, do assert this claim against the Exoo Enterprise. Thus, in viewing the pleading in the

 light most favorable to Plaintiffs, the Court considers the alleged violation of Section 610 as part

 of Plaintiffs’ RICO claim. But Section 610 is not encompassed within the list indictable offenses

 that may constitute RICO racketeering activity. 18 U.S.C. § 1961(1)(B). Consequently, Plaintiffs

 cannot use an alleged violation of Section 610 to establish a predicate offense.4



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  In arguing that Section 610 can be a RICO predicate act, Plaintiffs rely on United States v. Local
 560 of Int’l Bhd. of Teamsters, 780 F.2d 267 (3d Cir. 1985), and related cases. See Exoo Opp. at
 20. In Local 560 the Third Circuit determined that a union member’s LMRDA rights are intangible
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        In sum, Plaintiffs fail to plead any predicate acts to support their RICO claim. Again,

 without a predicate act, Plaintiffs cannot plausibly allege a pattern of racketeering activity and

 their substantive RICO claim fails. Count IV, therefore, is dismissed.

        The Moving Defendants also seek to dismiss Plaintiffs’ RICO conspiracy claim, 18 U.S.C.

 § 1692(d), due to the lack of a predicate offense. See, e.g., Twitter Br. at 16. Because Plaintiffs

 fail to establish a substantive RICO claim, their RICO conspiracy claim also fails. See Lightning

 Lube, Inc. v. Witco Corp., 4 F.3d 1153, 1191 (3d Cir. 1993) (“Any claim under section 1962(d)

 based on conspiracy to violate the other subsections of section 1962 necessarily must fail if the

 substantive claims are themselves deficient.”).

        But Plaintiffs, relying on Smith v. Berg, 247 F.3d 532, 534 (3d Cir. 2001), contend that a

 RICO conspiracy claim can proceed even if other Section 1962 claims are dismissed. Exoo Opp.

 at 15. In Smith, the court addressed whether a defendant could be liable for a RICO conspiracy

 without personally committing or agreeing to commit the underlying predicate act. Smith, 247

 F.3d at 536-38. The Court determined that provided that the defendant “knowingly agree[d] to

 facilitate a scheme which includes the operation or management of a RICO enterprise,” the

 defendant could be liable for the conspiracy even if he did not personally commit or agree to

 commit the predicate acts. Id. at 537-38. The Smith reasoning presumes that someone within the



 property that could be subject to extortion. Local 560 of Int’l Bhd. of Teamsters, 780 F.2d at 280-
 82. Thus, Hobbs Act violations satisfied the predicate act requirement for the RICO claim, not a
 stand-alone LMRDA violations. As explained in the November 1 Opinion, however, the Hobbs
 Act requires obtaining property from another. Nov. 1 Opinion at 7; see also Scheidler v. Nat’l
 Org. for Woman, Inc., 537 U.S. 393, 405 (2003) (explaining that to conclude petitioners deprived
 or sought to deprive respondents of property without acquiring it “would effectively discard the
 statutory requirement that property must be obtained from another, replacing it instead with the
 notion that merely interfering with or depriving someone of property is sufficient to constitute
 extortion” under the Hobbs Act). Here, Plaintiffs still fail to allege that any Defendant obtained
 D’Ambly’s LMRDA rights from him. Accordingly, Plaintiffs also fail to allege a Hobbs Act
 violation on these grounds.
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 conspiracy committed the predicate acts. Id. As discussed, Plaintiffs fail to allege any predicate

 acts in this matter. And a RICO conspiracy claim “must be dismissed if the complaint does not

 adequately allege ‘an endeavor which, if completed, would satisfy all of the elements of a

 substantive [RICO] offense.’” In re Ins. Brokerage Antitrust Litig., 618 F.3d 300, 373 (3d Cir.

 2010) (quoting Salinas v. United States, 522 U.S. 52, 65 (1997)). Because Plaintiffs fail to allege

 facts demonstrating that any Defendant engaged in conduct that could amount to a predicate act,

 Plaintiffs do not satisfy the elements of a substantive RICO claim. Therefore, Plaintiffs’ RICO

 conspiracy claim also fails and Count V is dismissed.

              B. Violation of Section 610 of the Labor-Management Relationship
                 Disclosure Act (“LMRDA”), 29 U.S.C. § 530 (Count VII)

        As discussed, in Count VII, Plaintiffs allege that the Moving Defendants violated Section

 610 of the LMRDA. SAC ¶¶ 204-211. The Moving Defendants maintain that Count VII must be

 dismissed because it is a criminal statute with no private right of action. See, e.g., Twitter Br. at

 28-30. Ordinarily, federal criminal statutes do not provide individuals with a private right of action

 in a civil case. See Weeks v. Bowman, No. 16-9050, 2017 WL 557332, at *2 (D.N.J. Feb. 10,

 2017) (dismissing civil matter for lack of subject matter jurisdiction because criminal statutes cited

 by the plaintiff did not create a private right of action). If a statute provides a private right of

 action, however, an individual may “bring suit to remedy or prevent an injury that results from

 another party’s actual or threated violation of a legal requirement.” Wisniewski v. Rodale, Inc.,

 510 F.3d 294, 296 (3d Cir. 2007).

        Section 610 provides as follows:

                It shall be unlawful for any person through the use of force or
                violence, or threat of the use of force or violence, to restrain, coerce,
                or intimidate, or attempt to restrain, coerce, or intimidate any
                member of a labor organization for the purpose of interfering with
                or preventing the exercise of any right to which he is entitled under

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                the provisions of this chapter. Any person who willfully violates this
                section shall be fined not more than $1,000 or imprisoned for not
                more than one year, or both.

 29 U.S.C. § 530. There is no explicit private right of action. The Moving Defendants also cite to

 numerous cases concluding that there is no private right of action for a Section 610. See, e.g.,

 Rodriguez v. Serv. Empls. Int’l, 755 F. Supp. 2d 1033, 1047-48 (N.D. Cal. 2010) (dismissing

 Section 610 claim asserted in civil suit because Section 610 “does not give rise to a private cause

 of action.”). Plaintiffs do not address this argument and provide no authority to the contrary.

 Consequently, the Court concludes that Plaintiffs cannot pursue a claim under Section 610 of the

 LMRDA. Count VII is dismissed.5

              C. Personal Jurisdiction

        Next, Exoo maintains that if Plaintiffs’ RICO claims are dismissed, the claims asserted by

 every Plaintiff except for D’Ambly must be dismissed for lack of personal jurisdiction. Exoo Br.

 at 31-32. Plaintiffs argue that the Court has personal jurisdiction over Strickland and Torch, the

 two new Defendants. Exoo Opp. at 11-12. Plaintiffs also argue that the Court has statutory

 personal jurisdiction under 18 U.S.C. § 1965(b). Id. at 12-13. Plaintiffs, however, do not address

 whether the Court has personal jurisdiction over Plaintiffs’ claims against Exoo.

        As discussed in the November 1 Opinion, Section 1965(b) authorizes nationwide service

 of process for a plaintiff asserting a RICO claim. 18 U.S.C. § 1965. “Where Congress has

 statutorily authorized nationwide service of process, such service establishes personal jurisdiction,

 provided that the federal court’s exercise of jurisdiction comports with Fifth Amendment due

 process.” Laurel Gardens, LLC v. Mckenna, 948 F.3d 105, 122 (3d Cir. 2020) (quoting Cory v.




 5
   The remaining claims in the SAC are not asserted against SLU or the Twitter Defendants. As a
 result, the Court only considers Exoo’s arguments for dismissal for the remainder of this Opinion.
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  Aztec Steel Bldg., Inc., 468 F.3d 1226, 1229 (10th Cir. 2006)). As discussed, Plaintiffs’ RICO

  claims are dismissed for failure to state a claim. Consequently, Plaintiffs cannot rely on the RICO

  statute to establish personal jurisdiction. See Pop Test Cortisol, LLC v. Univ. of Chic., No. 14-

  7174, 2015 WL 3822237, at *5 (D.N.J. June 18, 2015) (stating that because the plaintiff did not

  allege a plausible RICO claim “18 U.S.C. § 1965(d) cannot rightly form a basis for asserting

  personal jurisdiction over defendants”).

         In the November 1 Opinion, the Court also determined that because Exoo is domiciled in

  New York, general personal jurisdiction does not exist. Nov. 1 Opinion at 13. Therefore, Plaintiffs

  must establish that this Court has specific jurisdiction over Exoo. “Specific personal jurisdiction

  generally must be evaluated in both a claim-specific and defendant-specific fashion.” Al-Ghena

  Int’l Corp. v. Radwan, 957 F. Supp. 2d 511, 531 (D.N.J. 2013) (quoting Lexington Ins. Co. v.

  Forrest, 354 F. Supp. 2d 549, 551 (E.D. Pa. 2005)); see also Bristol-Myers Squibb Co. v. Super.

  Ct. of Ca., S.F. Cnty., 137 S. Ct. 1773, 1781-82 (2017) (explaining that the requirements for

  personal jurisdiction must be satisfied for each defendant and a defendant’s relationship with a

  third party is an insufficient basis to confer personal jurisdiction). Thus, even if the Court can

  exercise personal jurisdiction over Strickland and Torch, Plaintiffs fail to explain how this would

  be relevant to the inquiry of whether the Court has personal jurisdiction over Exoo. But Plaintiffs’

  belief that Strickland and Torch somehow alter the personal jurisdiction analysis as to Exoo is

  undercut further because Count II, the only remaining claim asserted against Exoo, is only asserted

  against Exoo.    Thus, whether the Court can exercise jurisdiction over either of these new

  Defendants is irrelevant.

         This Court already determined that except for D’Ambly, none of the Plaintiffs

  demonstrated a sufficient connection between New Jersey, their claims, and Exoo in the November



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  1 Opinion. Accordingly, this Court dismissed the claims asserted by all Plaintiffs except for

  D’Ambly for lack of personal jurisdiction. Nov. 1 Opinion at 13-14. Nothing in the SAC changes

  this analysis. Count II, therefore, is dismissed as to every Plaintiff except D’Ambly for lack of

  personal jurisdiction.

               D. Tortious Interference (Count II)

         In Count Two, D’Ambly alleges that Exoo intentionally interfered with his prospective

  economic benefit; specifically, D’Ambly’s continued employment. SAC ¶¶ 154-61. Exoo first

  seeks to dismiss the claim because D’Ambly fails to allege that Exoo made untruthful statements.

  Exoo Br. at 33-34. Under New Jersey law, a plaintiff must plead the following elements to

  establish a claim:

                 (1) a plaintiff's reasonable expectation of economic benefit or
                 advantage, (2) the defendant's knowledge of that expectancy, (3) the
                 defendant's wrongful, intentional interference with that expectancy,
                 (4) in the absence of interference, the reasonable probability that the
                 plaintiff would have received the anticipated economic benefit, and
                 (5) damages resulting from the defendant's interference.

  Fineman v. Armstrong World Indus., Inc., 980 F.2d 171, 186 (3d Cir.1992) (emphasis added)

  (citing Printing Mart–Morristown v. Sharp Elec. Corp., 563 A.2d 31, 37 (N.J. 1989)). Moreover,

  “it is generally recognized that a party may not be liable for tortious interference for merely

  providing truthful information to one of the contracting parties.” E. Penn Sanitation, Inc. v.

  Grinnell Haulers, Inc., 682 A.2d 1207, 1218 (N.J. App. Div. 1996); see also Snitken v. Franklin

  Sussex Auto Mall, No. A-2125-06T12125-06T1, 2008 WL 539024, at *4 (N.J. App. Div. Feb. 29,

  2008) (“[T]he Restatement (Second) of Torts § 727 comment B provides [that] [t]here is of course

  no liability for interference with a contract or a prospective contractual relation on the part of one

  who merely gives truthful information to another.”).




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         The Court dismissed the tortious interference claim in the FAC, in part, because D’Ambly

  did not appear to allege that Exoo defamed or otherwise spread false information about D’Ambly

  in the Tweets that ultimately led to D’Ambly’s termination. Nov. 1 Opinion at 14-16. In the SAC,

  D’Ambly still fails to allege that any of the Tweets contained false information. Instead, Plaintiffs

  argue that in their brief in opposition to Exoo’s motion to dismiss the FAC, Plaintiffs affirmatively

  denied that they were fascists, Nazis, and white supremacists and reassert this position in their

  current opposition. Exoo Opp. at 5, 23. This allegation, or anything to that effect, does not appear

  in the SAC. Again, Plaintiffs cannot amend their pleading through a brief. As a result, the Court

  disregards this argument and concludes that D’Ambly fails to plead that any of Exoo’s Tweets, as

  they pertain to D’Ambly, contained false information.

         The Court acknowledged, however, that D’Ambly’s allegations about a threatening

  message left with the Daily News, D’Ambly’s employer, on January 11, 2019, could support a

  finding of wrongful and intentional interference. Nov. 1 Opinion at 17. In the SAC, Plaintiffs

  include more allegations to substantiate their allegations about the January 11 message. Critically,

  Plaintiffs allege that Strickland left the message, not Exoo. SAC ¶¶ 57, 62-63. But even assuming

  that Strickland’s January 11 message amounts to wrongful and intentional interference (which the

  Court is not deciding), it is not clear how Exoo is liable for Strickland’s message. As discussed,

  Plaintiffs’ allegations that Exoo directed his associates to send harassing, intimidating and

  threatening phone calls and Tweets to the Daily News are not supported by the Exoo’s actual

  Tweets. Nov. 1 Opinion at 16. Instead, Exoo instructed his followers to get D’Ambly fired and

  “warn them about Daniel D’Ambly.” Torres Decl., Ex. D-II at 20-21, 26, 35. Thus Strickland’s

  purportedly threatening message seems to go behind of scope of Exoo’s instructions. And

  Plaintiffs provide no legal authority explaining how Exoo could be liable for Strickland’s conduct



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  in such a scenario. Therefore, as pled, Plaintiffs fail to allege any wrongful interference by Exoo.

  Without such allegations, D’Ambly does not plead a tortious interference claim as to Exoo. Count

  II is dismissed.

      IV.      CONCLUSION

      For the foregoing reasons, and for good cause shown,

      IT IS on this 9th day of August, 2022,

      ORDERED that Defendants’ motions to dismiss (D.E. 116, 117, 119) are GRANTED; and it

  is further

      ORDERED that Counts IV, V and VII are dismissed as to all the Moving Defendants pursuant

  to Federal Rule of Civil Procedure 12(b)(6); and it is further

      ORDERED that Count II is dismissed as to all Plaintiffs except Daniel D’Ambly pursuant to

  Federal Rule of Civil Procedure 12(b)(2) and as to D’Ambly pursuant to Federal Rule of Civil

  Procedure 12(b)(6); and it is further

      ORDERED that dismissal is without prejudice. Plaintiffs shall have thirty (30) days to file an

  amended complaint that cures the deficiencies noted herein. If Plaintiffs do not file an amended

  pleading within that time, the claims dismissed herein will be dismissed with prejudice.



                                                               __________________________
                                                               John Michael Vazquez, U.S.D.J.




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